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                                                       FILED: July 24, 2020

                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT

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                                   No. 19-1124
                           (1:18-cv-00957-CMH-TCB)
                             ___________________

 UMG RECORDINGS, INC.; CAPITAL RECORDS, LLC; WARNER BROS
 RECORDS INC.; ATLANTIC RECORDING CORPORATION; ELEKTRA
 ENTERTAINMENT GROUP INC.; FUELED BY RAMEN LLC; NONESUCH
 RECORDS INC.; SONY MUSIC ENTERTAINMENT; SONY MUSIC
 ENTERTAINMENT US LATIN LLC; ARISTA RECORDS LLC; LAFACE
 RECORDS LLC; ZOMBA RECORDING LLC

             Plaintiffs - Appellants

 v.

 TOFIG KURBANOV, d/b/a FLVTO.BIZ, a/k/a 2CONV.COM; DOES 1-10

             Defendants - Appellees

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 COPYRIGHT ALLIANCE; INTERNATIONAL ANTICOUNTERFEITING
 COALITION; MOTION PICTURE ASSOCIATION OF AMERICA, INC.;
 ASSOCIATION OF AMERICAN PUBLISHERS

             Amici Supporting Appellants

 ELECTRONIC FRONTIER FOUNDATION

             Amicus Supporting Appellees
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                                   ORDER
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      The petition for rehearing en banc was circulated to the full court. No judge

requested a poll under Fed. R. App. P. 35. The court denies the petition for

rehearing en banc.

                                       For the Court

                                       /s/ Patricia S. Connor, Clerk
